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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

Meghan Scharringhausen,                        )
                                               )
                      Plaintiff,               )     Judge Jorge L. Alonso
                                               )
       v.                                      )     Case No.: 1:15-c v-06751
                                               )
American Coradius International, LLC,          )     Magistrate Judge Maria Valdez
                                               )
                      Defendant.               )

             STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED to by the Plaintiff and

Defendant herein by and through their attorneys that, pursuant to Rule 41(a) (1) (A)

(ii) of the Federal Rules of Civil Procedure, the above-entitled action against

Defendant shall be and hereby is dismissed with prejudice and on the merits, with

each side to bear its own fees and costs.

Dated: December 3, 2015

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